Case 1:22-cv-01237-RGA Document 122 Filed 01/11/23 Page 1 of 5 PageID #: 15748



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 In re                                                 Chapter 11

                                                       Bankruptcy Case No. 20-10343 (LSS)
 Boy Scouts of America and Delaware BSA, LLC,
                     Debtors.
                                                       (Jointly Administered)

 National Union Fire Insurance Co. of Pittsburgh,
 PA, et al.,
                       Appellants.

 v.                                                    Case No. 22-cv-01237-RGA

 Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.

 Travelers Casualty and Surety Company, Inc. et al.,
                       Appellants.

 v.                                                    Case No. 22-cv-01238-RGA

 Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.

 Old Republic Insurance Company,

                       Appellant.
                                                       Case No. 22-cv-01239-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.




                                                i
Case 1:22-cv-01237-RGA Document 122 Filed 01/11/23 Page 2 of 5 PageID #: 15749




 General Star Indemnity Company,

                     Appellant.
                                                Case No. 22-cv-01240-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.

 Indian Harbor Insurance Company,

                     Appellant.                 Case No. 22-cv-01241-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.

 Munich Reinsurance America, Inc.,

                     Appellant.
                                                Case No. 22-cv-01242-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.

 Arch Insurance Company,

                     Appellant.
                                                Case No. 22-cv-01243-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                     Appellees.




                                           ii
Case 1:22-cv-01237-RGA Document 122 Filed 01/11/23 Page 3 of 5 PageID #: 15750




 Great American Assurance Company et al.,

                       Appellants.                     Case No. 22-cv-01244-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.

 The Continental Insurance Co., et al.,

                       Appellees.
                                                       Case No. 22-cv-01245-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.

 Gemini Insurance Company,

                       Appellant.
                                                       Case No. 22-cv-01246-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.

 Traders and Pacific Insurance Company et al.,

                       Appellants.
                                                       Case No. 22-cv-01247-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                       Appellees.




                                                 iii
Case 1:22-cv-01237-RGA Document 122 Filed 01/11/23 Page 4 of 5 PageID #: 15751




 D & V Claimants,

                      Appellant.
                                                 Case No. 22-cv-01249-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.

 Argonaut Insurance Company et al.,

                      Appellants.
                                                 Case No. 22-cv-01250-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.

 Arrowood Indemnity Company,

                      Appellant.
                                                 Case No. 22-cv-01251-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.

 Liberty Mutual Insurance Company et al.,

                      Appellants.
                                                 Case No. 22-cv-01252-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                      Appellees.




                                            iv
Case 1:22-cv-01237-RGA Document 122 Filed 01/11/23 Page 5 of 5 PageID #: 15752




 The Lujan Claimants,

                        Appellant.
                                                      Case No. 22-cv-01258-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                        Appellees.


 Allianz Global Risks US Insurance Company et
 al.,
                      Appellants.
                                                      Case No. 22-cv-01263-RGA
 v.

 Boy Scouts of America and Delaware BSA, LLC,

                        Appellees.

                                           ORDER

       Upon application of D & V Claimants and for good cause shown,

                                  11th day of __________,
       IT IS HEREBY ORDERED this ____          January    2022, that D & V Claimants

may file full copies of Abuse Proofs of Claim (ADV 292-716) and certain Joint Trial Exhibits

(ADV 717-25) under seal while filing a redacted version publicly.


                                             /s/ Richard G. Andrews
                                            United States District Judge
